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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

RONALD JEFFREY PRIBLE,             '
                                  Petitioner,
                                   '
                                   '                   NO. ________________
VS                                 '
                                   '
NATHANIAL QUARTERMAN, DIRECTOR, '
TEXAS DEPARTMENT OF CRIMINAL       '
JUSTICE, INSTITUTIONAL DIVISION    '
                        Respondent '


            ORIGINAL PETITION FOR WRIT OF HABEAS CORPUS
                   OF A PERSON IN STATE CUSTODY

TO THE HONORABLE KEITH ELLISON, U.S. DISTRICT JUDGE:

      Petitioner, Ronald Jeffrey Prible, Texas Department of Criminal Justice Inmate

No. 999433, is currently confined on death row in the Texas Department of Criminal

Justice – Institutional Division’s Polunsky Unit located in Livingston, Texas. Mr. Prible

petitions this Court, pursuant to Title 28 U.S.C. §2254, to issue a Writ of Habeas Corpus

and to order his release from confinement on grounds that his custody violates the

Constitution and laws of the United States. This is an original federal petition in a death

penalty case.

                                    JURISDICTION

      This court has personal jurisdiction pursuant to Title 28 U.S.C. § 2241(d) because

Mr. Prible was convicted in a Harris County, Texas, court. Subject matter jurisdiction is

conferred by Title 28 U.S.C. § 2254.



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                               PROCEDURAL HISTORY

       Mr. Prible is restrained pursuant to the judgment and sentence entered in The State

of Texas vs. Ronald Jeffrey Prible, Jr., Cause No. 921126, in the 351st Judicial District

Court, Harris County, Texas. Mr. Prible was charged with capital murder alleged to have

occurred on April 24, 1999. (CR. Vol. 1, p. 2.) Mr. Prible was convicted of capital

murder and sentenced to death on October 25, 2002. (CR. Vol. 1, p. 212.) A motion for

new trial was filed on November 25, 2002, and overruled on January 7, 2003. (CR. Vol.

1, pp. 233, 239.)

       On January 5, 2004, Mr. Prible filed his direct appeal raising eight points of error.

The Texas Court of Criminal Appeals denied relief in Prible v. State, 175 S.W.3d 724

(Tex. Crim. App. 2005) On or about November 18, 2004, Mr. Prible’s counsel, Roland

Moore, filed an application for writ of habeas corpus containing four claims for relief in

the TCCA pursuant to Article 11.071 of the Texas Code of Criminal Procedure. On June

18, 2008, the TCCA denied relief.

                                 PRO SE PLEADINGS

       During state habeas proceedings, Mr. Prible filed numerous pleadings pro se.

These pleadings included two applications for habeas relief. Mr. Prible explicitly raised a

claim that the State violated Massiah v. United States, 377 U.S. 201 (1964), “when it

recruited a prisoner [Michael Beckcom] to act as the government agent in deliberately

elicit[ing] incriminating information from [Mr.] Prible”. Pro Se Petition, at 4 (citing

Creel v. Johnson, 163 F.3d 385, 393 (5th Cir. 1988). Mr. Prible also raised a claim based

on Brady v. Maryland, 373 U.S. 83 (1963), in which he alleged that the State suppressed

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the nature and extent of its relationship to Beckcom, its key witness, and to Nathan

Foreman, who supplied Beckcom to the State to act as its agent. Id. at 3-4. Mr. Prible

also set forth the scheme that the State used to establish probable cause using misleading

and inaccurate representations about ballistics evidence, and he alleged that the State

schemed to transfer Mr. Prible to the federal prison unit in which Beckcom and Foremen

were housed. Id., at 6-7. He expanded on the evidence supporting these allegations in a

pro se motion for discovery. Mr. Prible attempted to raise ineffectiveness of counsel

allegations, in which he complained that his defense counsel failed to protect his Sixth

Amendment and Due Process rights.

       Mr. Prible repeatedly brought to the convicting court’s and the TCCA’s attention

that the attorney appointed to represent him in state post-conviction proceedings was not

investigating his case, and was not raising the important prosecutorial misconduct claims

that Mr. Prible had clearly identified. Mr. Prible attempted to recuse Judge Mark Kent

Ellis, who presided over trial and was presiding over state post conviction proceedings,

on the ground that he had assigned his state writ attorney because of campaign

contributions. At a hearing conducted by videoconference on the recusal motion, Mr.

Prible expressly informed Judge Ellis that his attorney was not investigating his case and

had not raised the meritorious issues that Mr. Prible had asked him to raise.

       The convicting court did not assign Mr. Prible new counsel despite the clear

conflict between Mr. Prible and his appointed attorney. His appointed attorney failed to

file a motion to withdraw even though Mr. Prible’s communications to the courts and

with him demonstrated that a complete breakdown in the attorney-client relationship had

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occurred before the state writ was due. The Texas Court of Criminal Appeals reached the

merits of the application filed by state habeas counsel, but treated Mr. Prible’s pro se

pleadings as subsequent applications under TEX. CODE CRIM. P., ART. 11.071 § 5, and

disposed of them as an abuse of the writ.

                                CLAIMS FOR RELIEF

       Mr. Prible presents claims raised on direct appeal and in Prible v. State, 175

S.W.3d 724 (Tex. Crim. App. 2005), collateral proceedings in Ex parte Ronald J. Prible,

Jr., 2008 Tex. Crim. App. Unpub. LEXIS 449 (Tex. Crim. App. 6/18/2008).                 The

argument and exhibit evidence referred to in these claims is incorporated by reference as

if fully set forth herein.

       Mr. Prible also presents several claims that he did not file in a state forum. Should

the Court find that it does not have jurisdiction over these claims, or should the Court

find that they are unexhausted, he hereby moves for the Court to stay and abbey his

petition so that he may exhaust them in State court. In the alternative, he asks that he be

given leave to file an amended petition without the claims, or that they be stricken, so as

to avoid having his petition dismissed as a mixed petition.

                                       CLAIM #1

          Mr. Prible was deprived of his Fourteenth Amendment right to
          Due Process by the admission of evidence documenting the deaths
          of the Complainants’ children.

       As the State recognized, Mr. Prible alleged on direct appeal that the introduction

of testimony and exhibit evidence describing and depicting the deaths of Steve and Nilda

Herrera’s children due to smoke inhalation “deprived him of due process under the

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United States Constitution.” State’s Appellate Brief, at 19; CR, at 35. The Texas Court of

Criminal Appeals addressed Mr. Prible’s constitutional claim, stating that it was denying

it for the “same reasons expressed” in the TCCA’s determination that the admission of

the evidence did not violate Texas Rules of Evidence 402 and 403.

       A.     FACTS

       Mr. Prible was charged with capital murder in a one-paragraph indictment that

alleged he caused the deaths of Steve and Nilda Herrera by shooting them with a firearm

during the same criminal transaction. (CR, vol. 1, at 2). Steve was found in the garage

face down. Nilda’s burnt body was found in the adjacent room on the couch. Both had

been executed by gunshots to the head. The bodies of their three children were found

upstairs. Each had died of smoke inhalation from the smoldering fire that Steve and

Nilda’s assailant(s) had started below. There was no evidence that the children had been

sequestered, injured or traumatized.

       At trial, Defense counsel made the following objection to the introduction of

evidence of the children’s deaths.

              DEFENSE COUNSEL:           “Concerning the children… I want the

       Court to understand that our grounds [for objecting to evidence of the

       children’s death] are premised in the Rules of Evidence, Rule 403 and Rule

       404 and the Fourteenth Amendment to the Constitution of the United

       States. The Defendant’s right to a fair trial unencumbered by evidence that

       he’s a criminal generally, has committed other offenses. And [we] would

       ask the Court to extend its ruling to a point where we are not required to

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          make objections every time evidence of the deaths of the three children

          comes up through any witness.”

                 THE COURT:           “Absolutely. The Court will grant a running

          objection to any evidence related to the death of the children introduced at

          the guilt/innocence phase of the trial with all the objections the Defense has

          just stated and will not require them to make the objection in the presence

          of the jury….”

RR. Vol. 21, at 16. Citing this objection and ruling on direct appeal, Mr. Prible argued

that the introduction of evidence related to the deaths of the girls violated his due process

rights.

          In Texas, a homicide is a capital crime if there are two or more victims in the same

transaction, if a victim is under 12 years old, or if the cause of death is arson. TEX.

PENAL CODE § 19.03. During opening remarks the prosecutor stated that what the

firemen who arrived at the scene saw was “horror because they’re going to tell you what

they found there that day in that house was a whole family dead. Not just Esteban

Herrera, Jr., Steve; not just Nilda Tirado, but three little girls.” Id., at 73. According to

the prosecutor, “walked out of a house with it smoking and burning, knowing three little

babies were asleep in their beds. That is the kind of man [he is] and he’s guilty of capital

murder.” Id. at 83. During closing argument, the prosecutor insisted that this case was “a

capital murder where three little girls were executed.” RR. Vol. 28, at 83.




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       B.        ARGUMENT

       The Fifth Circuit applies a two-pronged test to determine whether extraneous

offense evidence violates due process.     First, the government must make a “strong

showing that the defendant committed the offense’ and second the government must

demonstrate that the extraneous offense is ‘rationally connected with the offense

charged.” Enriquez v. Procunier, 752 F.2d 111, 115 (5th Cir.1984), cert. denied, 471 U.S.

1126 (1985).

                 1.   The Government did not make the type of strong showing
                      required to justify the introduction of evidence of the extraneous
                      capital murders of three children.

       The evidence that Mr. Prible intended to kill Steve and Nilda’s children hinged on

Beckcom’s testimony. Beckcom testified that Mr. Prible told him that he knew the girls

were upstairs. According to Beckcom, when he inquired about the deaths of the three

girls, Mr. Prible stated that anyone who could “take out an entire family was a bad

motherfucker, and I’m that bad motherfucker.” RR, vol. 26, at 52.

       Beckcom’s testimony about the death of the girls is inherently unreliable jailhouse

snitch testimony that is not supported by any evidence corroborating an intention to kill

the three little girls. The State did not provide a motive explaining why Mr. Prible would

kill the girls. None of the children witnessed the deaths of their parents. They do not

appear to have been awakened by gunshots. Firemen found two of the girls in their

bedroom: Rachel was face-down on the floor; Valerie was found face down in bed.

Prible, 175 S.W.3d, at 727. Jade’s body was found in the master bedroom face down on

the floor. Id.

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       There was no testimony indicating that Mr. Prible saw or heard the children while

he was at Steve and Nilda’s during the evening before the two were killed. There was no

evidence that anyone went upstairs to where the girls were found until the fire department

arrived early the next morning and searched the home. According to the State, before

Steve died, Mr. Prible and Steve’s brother and Steve played pool out in the garage, then

went to a cabaret and returned to Steve’s home. These events transpired late at night.

Children were not part of these scenes. Although Mr. Prible and Steve were childhood

friends, the State maintained that Steve allowed no one in the house. The girls had

numerous relatives nearby – uncles, aunts and grandparent – at whose homes they could

be left to spend the night.

       Finally, the State did not establish that the killer intended to burn the house down.

Arson investigators established that the killer used an accelerant. Gasoline was used and

an open can of a Kutzit was found near Nilda’s body. However, there was no evidence

that the assailant attempted to set the room on fire by spreading accelerant on carpets,

wall or furniture. According to the State, the assailant set Nilda on fire after she was

dead in order to destroy evidence that would have been left behind in the course of a

sexual assault. RR. Vol. 21, at 10-11.

              2.      The Government did not demonstrate a rational connection to
                      the offense charged.

       The Fifth Circuit’s case law makes clear that it is not enough to show that the

actus reus of the extraneous offense – in this case the death of the three girls -- was a

causal consequence of the conduct that constituted the charged offense. Instead, the


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extraneous offense evidence has to be probative of the actions or the mental states that

the State contends satisfy the elements of the charged crimes. For example, in Wood v.

Quarterman, 503 F.3d 408 (5th Cir. 2007), the State sponsored testimony from a

prostitute who had escaped the fate of one of Wood’s murder victim, a woman named

Kelly. The prostitute described being restrained and raped in a manner that bore a

“striking similarity” to the crime scene evidence developed in six murders, including,

Kelly’s. Id., at 414. In Story v. Collins, 920 F.2d 1247 (5th Cir. 1991), the State charged

Story with indecency with a child named Crystal. He objected to evidence that he had

masturbated in front of two other girls. After finding that that satisfied the first prong of

the Procunier test, the Court ruled that extraneous offense was “rationally connected with

the charged offense, because it indicated that Story had a desire to engage in sexual

conduct in Crystal's presence.” Id., at __.

       In sharp contrast, the deaths of Steve’s and Nilda’s three little girls had nothing at

all to do with the motive, intent, manner or means of death that the State alleged were

involved in the execution of their parents. The assailant(s) did not need to get rid of the

girls because they were witnesses. The State did not need to show that Steve or Nilda

died of asphyxiation. It alleged that the parents died from gunshot wounds to the head

fired at close range. The State did not need to display crime scene and autopsy evidence

showing how the girls died in order to show that a fire had been set in order to conceal

and destroy evidence. The evidence of a fire, where it started, what caused it, and where




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it spread, was absolutely clear without reference to the deaths of the children.1 The

accelerant was found downstairs near Nilda, the firefighters arrived to find smoke coming

out from under the eaves of the home, and they described the smoky conditions they

found throughout the house when they entered to search.

        Introduction of evidence of the three extraneous capital offenses was entirely

gratuitous, rather than rationally connected to the State’s case for convicting Mr. Prible of

Steve’s and Nilda’s death. Indeed, the State admitted that the evidence of the extraneous

capital murders that it intended to introduce at guilt innocence were not rationally

connected to the Steve and Nilda’s assailant’s intentions or actions. In trying to justify

the introduction of the extraneous offense evidence, the State argued that,

            This isn’t some sociopath who decided to wipe out a whole family.
            This is a Defendant who killed two people and then set the house on
            fire in an attempt to cover up the family (sic.). And had those
            children survived there probably would have been no moment to the
            Defendant because neither of the three children had seen him or could
            identify him as the person who killed both their parents because they
            were upstairs….

RR. Vol. 21, at 7-8.

        That the purpose of introducing evidence of regarding the children’s deaths was to

inflame the jury, rather than provide a context for the crime, is clear, too, from the

extensive visual evidence that the State sponsored. The State was not satisfied with

sponsoring verbal descriptions from the firefighters who found the girls.                                 It also

1
  The State’s recitation of the evidence shows that the firefighters found Steve and Nilda’s bodies immediately and
realized right off that the crime scene involved homicide and arson. The firefighters retreated from the house,
ventilated it and searched other rooms. Finding nothing, they regrouped outside again. They reentered and went
upstairs in order to find the three girls. See, State’s Appellate Brief, at 6; CR, at 000022. That is, firefighters



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introduced crime scene photos of each child followed by autopsy photos showing the

dissected bodies and organs of every single little victim. As the Ninth Circuit recognized

in McNeely v. Olivarez, 104 F.3d 365, *5 (9th Cir. 1996),2 federal due process claim

exists if the introduction of graphic, gruesome photographs of the victim renders the trial

fundamentally unfair.          At sentencing, where evidentiary rules are more relaxed,

particularly gruesome photos of a victim may still warrant habeas relief. See, Spears v.

Mullin, 343 F.3d 1215, 1229 (10th Cir. 2003), cert. denied sub nom. Powell v. Mullin,

541 U.S. 909 (2004) (photos of victims so inflammatory as to “fatally infect[ ] the trial

and deprive[ the defendants] of their constitutional rights to a fundamentally fair

sentencing proceeding”).

                3.       The argument that admission was justified because it bolstered
                         the jailhouse snitches credibility was false and misleading.

        According to the State, the evidence of three extraneous capital murders was

admissible because the evidence corroborated Beckcom’s testimony.                            However, if

anything the evidence detracted from Beckcom’s credibility. The key to the State’s

endeavor to establish Beckcom’s credibility was statements to him by Mr. Prible that the

State maintained described details of the crime scene that only a person who had been at

the scene would know. However, Beckcom’s testimony about where the girls were was

neither detailed nor accurate nor did it indicate in the least that the source of the

testimony had to come from someone who had been at the crime scene. Beckcom

testified that Mr. Prible told him that the girls “were in bed”. RR, vol. 26, at 49.


conducted three searches, and what they found on the third go around was absolutely unnecessary to “provide a


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Beckcom asked how did they die and he said Mr. Prible said “smoke inhalation”. Id.

However, no one would have learned that the girls died of smoke inhalation from

being at the crime scene when the crime occurred. This is the type of fact that could

only be learned afterwards from other sources, such as the newspaper, where it was

reported, from police reports or from any number of people who talked later to the family

members and neighbors who had arrived in numbers at the crime scene. Clearly, the

culprit would have fled the scene before the girls asphyxiated. Even though the fire was a

flash fire spread through the room adjacent to the garage quickly, it took time for the

smoke to permeate the entire home and choke the girls. Beckcom’s testimony that Mr.

Prible told him that the “girls were in bed” is equally useless as far as establishing

credibility. Mr. Prible was Steve’s close friend, he had been to their home several times,

and knew that the crime took place very late at night or early morning. He clearly did not

have to be at the scene when the crime happened in order to be able to make the

representation that the girls were in bed when Steve and Nilda were shot downstairs.

Furthermore, Beckcom testimony that Mr. Prible told him that the girls were “in bed”

when Steve and Nilda were shot does not accurately describe how or where the girls

were found.3 One of the children, Jade, was in the master bedroom. Two, including

Jade, were found on the floor.




context” to Steve’s or Nilda’s murder.
2
  Unpublished opinion.
3
  It is absolutely mindboggling that at trial, on appeal and in post-conviction proceedings, the State gets away with
this ruse about “facts that only the killer would know”. Mr. Prible knew Steve and Nilda’s family; he was from the



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                 3.      The Texas Court of Criminal Appeals’ determination that there
                         was no due process violation was “contrary to” and involved an
                         “unreasonable application” of federal constitutional law. See, 28
                         U.S.C. § 2254(d)(1).

        The Due Process Clause provides relief from evidentiary rulings that are “so

unduly prejudicial that it render[ed] the trial fundamentally unfair.” Payne v. Tennessee,

501 U.S. 808, 825 (1991); and see, Spencer v. Texas, 385 U.S. 554, 561 (1967) (The Due

Process Clause guarantees the fundamental elements of fairness in a criminal trial.). The

established standard for fundamental fairness requires that habeas relief be granted by a

federal court when the state trial error relates to evidence that is material in the sense of a

crucial, critical, highly significant factor. Mullen v. Blackburn, 808 F.2d 1143, 1145 (5th

Cir. 1987). The Fifth Circuit has recognized in a long line of habeas cases that if

extraneous offenses are highly significant factors, their introduction at guilt-innocence

infringes the defendant’s due process rights unless there is a rational connection between

the extraneous offenses and the charged offenses. Procunier, supra; Porter v. Estelle,

709 F.2d 944, 957 (5th Cir. 1983).

        In Mr. Prible’s case, the Texas Court of Criminal Appeals justified the

introduction of evidence of three extraneous capital offenses on grounds that explicitly

violate due process. Indeed, it upheld the decision to admit the extraneous murders of the

three girls because it found that these offenses were not rationally connected to the

crimes with which Mr. Prible was charged. The TCCA expressly ruled that “there was


neighborhood. Facts about the crime, such as where the girls were found dead, where the parents were found dead,


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little likelihood” that evidence of the tragic deaths of the three girls “would encourage the

jury to reach an irrational verdict or act on the basis of emotion,” because “evidence of

their deaths did nothing to prove that appellant was responsible for the murders of

Steve and Nilda.” Prible, 175 S.W.3d, at 733 (emphasis added). Clearly, the TCCA’s

decision was contrary to bedrock principles of due process and fundamental fairness that

the Supreme Court has long insisted must govern criminal trials. In the alternative, it is

and unreasonable application of these basic principles.

                 4.       The extraneous offense evidence was clearly harmful when
                          measured against the scant evidence supporting the jury’s
                          verdict.

          The presentation of the evidence in Mr. Prible’s case focused extensively on the

deaths of the three girls. Testimony regarding the condition in which their bodies were

found came in through firefighters, police officers and the Medical Examiner.                             It

displayed gruesome autopsy photos showing the effects of smoke inhalations.                              The

prosecution dwelt on the death by suffocation in its case in chief and in closing. The

State realized the evidence was shocking. Speaking to the jury, the lead prosecutor

stated,

            “You probable thought, wait a minute, Kelly, you just said whole
            family. All I’ve heard about from the Judge and you and Vic and them
            is Steve and Nilda. What’s this business about a whole family? You
            were probably shocked and should have been.”

RR. vol. 28, at 86.




how they were killed, etc., were known by a wide circle of people with which Mr. Prible was connected.

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      On the other hand, the evidence that Mr. Prible killed Steve and Nilda was far

from overwhelming. State’s evidence consisted in testimony from Steve and Nilda’s

family members placing Mr. Prible at Steve’s residence during the late evening and early

morning when the murder took place. DNA evidence that indicated that Mr. Prible and

Nilda had oral sex shortly before the murders also placed him at Steve’s house near the

time of the murders. The State also obtained inconsistent statements from Mr. Prible in

which at first he denied having an affair with Nilda and then admitted to one. However,

all of this evidence was developed two years before trial.        At the time, the State

determined it did not have probable cause to arrest Mr. Prible. He remained at liberty

until he was apprehended for robbing several banks, and was not charged with capital

murder until he had nearly completed his federal sentence.

      The State’s case depended on the severely impeached testimony of the State’s

jailhouse informant who had killed a man by carbon dioxide poisoning, admitted that he

had previously lied under oath, and was testifying to get his sentence reduced. Mr. Prible

also impeached the crime scene investigation. Detective Brown failed to collect blood

samples from the splatters on the wall, and was compelled to admit that his performance

was just sloppy. The State’s DNA expert fared no better. Dr. Watson testified that

spermatozoa would not live much longer than 15 minutes in an oral cavity. The Harris

County Medical Examiner and the Defense expert contradicted this testimony.

      On the other hand, Mr. Prible put on a substantial defense. He discredited the

motive that the State advanced for the murder, which was that Steve took $250,000.00

from him. He countered the State’s theory of animosity toward Steve with testimony that

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they were boyhood friends and knew each other’s families. The Defense also sponsored

a credible alibi witness, a neighbor, who testified that she knew Steve and Prible by sight

and by voice, and that she saw and heard both of them sometime after 1 PM outside her

home. The State’s arson experts also provided exculpatory information when he testified

that the accelerants used to set Nilda afire would produce a “flash fire” which he

described as a “very rapid hot fire.” RR., Vol. 21, at 217. According to the arson expert,

“the easiest way … to describe a flash fir to most people is take a charcoal barbecue, pour

light fluid and drop a match or torch and you get a whoosh or rush of lames. That’s a

typical flashfire. We’re talking about a roomful of consequences.” Id. With the rapidity

that characterizes an explosion of lighter fluid, the flashfire quickly burned up what he

referred to as the “majority of the consumables” in the room where Nilda was found. Id.

at 222. Clearly, such a fire would have burned and singed Mr. Prible’s clothing, exposed

body hair and exposed skin. However, Mr. Prible did not display any such effects when

detectives interviewed him and police examined him the just hours after the murder.

              5.     The TCCA’s harmless error analysis violated 28 U.S.C. §
                     2254(d)(1) “contrary to” and “unreasonable application”
                     prongs.

       For purposes of 28 U.S.C. § 2254(d)(1), the TCCA’s prejudice analysis is contrary

to, or involves an unreasonable application of, federal constitutional law. The TCCA did

not conduct the harmless error analysis delineated by the Supreme Court in Brecht v.

Abraham, 507 U.S. 619, 637 (1993). Instead, the TCCA’s analyzed “potential prejudice”

in terms of whether what it called “the relatively strong probative value of the evidence”

incriminating Mr. Prible in the deaths of Steve and Nilda, and determined whether it was

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“substantially outweighed by “the mere possibility of unfair prejudice.” Id. However,

this is the standard for determining whether admission of the evidence resulted in a

substantive violation of evidentiary rules. See, TEX. R. EVID. 403; and see, FRE 403.

Such a standard is not appropriate for evaluating prejudice under Texas or federal

constitutional law. See, TEX. R. APP. P. 44.2(a-b); Brecht, supra.

                                        CLAIM # 2

          Mr. Prible received ineffective assistance of counsel, as a matter
          of federal constitutional law, where trial counsel failed to
          effectively address and rebut the testimony of William Watson,
          that the semen found in the complainant Nilda Tirado must have
          been deposited in her mouth near or at the time of her death,
          where there was no scientific basis for this expert conclusion.

       Mr. Prible was entitled to counsel skilled in the rules of evidence and procedure.

U.S. Const. amends 6 & 14; Faretta v. California, 422 U.S. 806, 95 S.Ct. 2525, 45

L.Ed.2d 562 (1975). Petitioner received ineffective assistance of counsel, as a matter of

federal constitutional law, where trial counsel failed to effectively address and rebut the

testimony of William Watson, that the semen found in the complainant Nilda Tirado

must have been deposited in her mouth near or at the time of her death, where there was

no scientific basis for this expert conclusion.

       William Joseph Watson testified for the State. (RR. Vol. 24 p. 28). Watson was a

DNA expert hired by the State. (RR. Vol. 24 p. 31). Watson analyzed the semen swabs

taken from the complainant Nilda during the autopsy. (RR. Vol. 24 p. 64). Watson was

able to detect the Petitioner's DNA from the sperm found on swab taken from the

complainant's mouth. (RR. Vol. 24 p. 104). Watson told the jury that in his experience,


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he had never been able to recover a sufficient amount sperm from a swab taken from a

complainant's mouth, to make a reliable DNA determination, where the complainant had

been alive at the time sperm had been deposited. (RR. Vol. 24 pp. 100-106). The

conclusion to be drawn from Watson's testimony that was that Mr. Prible must have

deposited his sperm in the complainant's mouth at or almost simultaneously with the time

of her death.

       The testimony by Watson that the sperm must have been deposited in the

complainant's at or near the time of her death surprised the defense. (See Affidavit of Dr.

Robert C. Benjamin, Exhibit D.) Petitioner's attorneys were ineffective for failure to

object to the expert's conclusion, without the trial court first conducting a hearing to

determine whether the expert's methods were reliable. Daubert v. Merrell Dow

Pharmaceutical, 509 U.S. 579, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993); Kelly v. State,

824 S.W.2d 568 (Tex. Crim. App. 1992). Trial counsel were also ineffective for failure

to move for a continuance in order that expert testimony contradicting Watson's

testimony could be obtained.

       There was ample scientific evidence that the testimony of the State’s DNA expert

was without foundation in scientific fact, nor as he qualified to make the assertions that

he did. (See Affidavit of Dr. Elizabeth A. Johnson, with scientific publications, Exhibit

C to the State Application for Writ of Habeas Corpus.)

                                       CLAIM # 3

          PETITIONER WAS DENIED HIS CONSTITUTIONAL RIGHT
          TO AN IMPARTIAL JURY BECAUSE THE VENIRE DID NOT
          REFLECT A FAIR CROSS-SECTION OF THE COMMUNITY

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           In 1975, the United States Supreme Court in Taylor v. Louisiana held:

           [T]he jury wheels, pools of names, panels, or venires from which juries
           are drawn must not systematically exclude distinctive groups in the
           community and thereby fail to be reasonably representative thereof.4

Because Harris County systematically excludes Hispanics from jury service, Petitioner

was denied his right to a jury drawn from a fair cross-section of the community as

guaranteed by the Sixth and Fourteenth amendments. As explained in further detail in

this section, each of the elements required to establish a prima facie violation of the fair

cross-section requirement is satisfied. In particular:

       a. Hispanics qualify as a distinctive group.

       b. Hispanics are under-represented on the venire as a matter of law. Based on his

           analysis of the data, Prof. Harold Hietala, Ph.D., Professor of Statistics,

           determined that Hispanics were in fact significantly under-represented. Hispanics

           make up 30% of persons in the county eligible for jury service, but Petitioner’s

           venire panel included only 37 Hispanics out of 300, or about 12%. (See Exhibit

           E.) Petitioner’s twelve-person jury contained zero Hispanics.

       c. The exclusion of Hispanics from venire panels is systematic in that it is the direct

           result of procedures adopted by Harris County. As shown below, Hispanics are

           being excluded primarily because the pay for jury service ($6/day) is the lowest in

           the nation, among other reasons.




4
    Taylor v. Louisiana, 419 U.S. 522, 538 (1975).

                                                     19
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         A.       Petitioner Has an Absolute Right to a Jury Drawn From a Fair Cross-
                  Section of the Community.

         The right to a fair and impartial jury in criminal cases is one of the most

fundamental aspects of the government and society of the United States.5 “Jury service

preserves the democratic element of the law … [because it] affords ordinary citizens a

valuable opportunity to participate in a process of government, an experience fostering,

one hopes, a respect for the law.”6 Jury service also “guard[s] against the exercise of

arbitrary power … [by making] available the commonsense judgment of the community

as a hedge against the overzealous or mistaken prosecutor and in preference to the

professional or perhaps overconditioned or biased response of a judge.”7 Accordingly,

the right to an impartial jury, which traces its roots all the way back to the signing of

Magna Carta in the 13th century,8 is preserved by the Sixth Amendment to the

Constitution.9

         “The very idea of a jury is a body of men composed of the peers or equals of the

persons whose rights it is selected or summoned to determine; that is, of his neighbors,

fellows, associates, persons having the same legal status as that which he holds.”10 Thus,

“[t]he American tradition of trial by jury … necessarily contemplates an impartial jury

drawn from a cross-section of the community,” and requires that “prospective jurors shall

be selected by court officials without systematic and intentional exclusion of any of [the

5
  Powers v. Ohio, 499 U.S. 400, 407 (1991).
6
  Id.
7
  Taylor, 419 U.S. at 529.
8
  Duncan v. Louisiana, 391 U.S. 145, 151 (1968).
9
  “In all criminal prosecutions, the accused shall enjoy the right to a speedy and public trial, by an impartial jury of
the state and district wherein the crime shall have been committed.” U.S. Const., Amend. 6.
10
   Taylor, 419 U.S. at 536 n.19, quoting Strauder v. West Virginia, 100 U.S. 303, 308 (1879).

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economic, social, religious, racial, political and geographical groups of the

community].”11

         Duren v. Missouri

         The tool provided to ensure this requirement is met is the fair cross-section claim,

articulated by the Supreme Court in Duren v. Missouri.12 In order to prove a violation of

Petitioner’s right to a jury drawn from a fair-cross section of the community, an

individual must show:

         (1) that the group alleged to be excluded is a “distinctive” group in the
         community; (2) that the representation of this group in venires from which
         juries are selected is not fair and reasonable in relation to the number of
         such persons in the community; and (3) that this under-representation is due
         to systematic exclusion of the group in the jury-selection process. 13

Once the defendant makes a prima facie showing of a fair cross-section violation, the

burden shifts to the state to show “‘that the disproportionate exclusion manifestly and

primarily advances a significant governmental interest.’”14

         Fair cross-section claims are not limited to federal courts.15                                 Rather, the

requirement applies to state court criminal proceedings by virtue of the Fourteenth

Amendment.16 Nor is membership in the excluded class a requisite for raising a claim.17




11
   Thiel v. Southern Pacific Co., 328 U.S. 217, 220 (1946).
12
   Duren v. Missouri, 439 U.S. 357, 364 (1979).
13
   Id.
14
    Aldrich v. State, 928 S.W.2d 558 (Tex.Cr.App. 1996), quoting Duren, 439 U.S. at 367-68; United States v.
Maskeny, 609 F.2d 183, 189 (5th Cir. 1980), cert. denied, 447 U.S. 921 (1980) (“unless the state shows that the
aspects of the process that result in the disproportion manifestly and primarily advance a significant state interest.”).
15
   Duncan v. Louisiana, 391 U.S. 145, 20 L. Ed. 2d 491, 88 S. Ct. 1444 (1968).
16
   Id.
17
   Duren, 439 U.S. at 359, n.1, citing Taylor, 419 U.S., at 526-531, 538.

                                                          21
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Finally, the requirement is not a guarantee of “a jury of any particular composition.”18

Instead, the right to bring a fair cross-section claim only ensures that venires from which

juries are drawn do not systematically exclude distinctive groups in the community. 19

        B.       Hispanics Are a Distinctive Group Under the Duren Test.

        Hispanics have repeatedly been held to be a distinctive group.20 The Supreme

Court has never defined “distinctiveness”, but has held that “the concept … must be

linked to the purposes of the fair-cross section requirement.”21 The “purposes” were

identified by the court:

        (1) ‘[guarding] against the exercise of arbitrary power’ and ensuring that
        the commonsense judgment of the community’ will act as ‘a hedge against
        the overzealous or mistaken prosecutor,’ (2) preserving ‘public confidence
        in the fairness of the criminal justice system,’ and (3) implementing our
        belief that ‘sharing in the administration of justice is a phase of civic
        responsibility.22

In Weaver v. State, the Dallas Court of Appeals held that distinctiveness is found where a

“common thread of shared experience or a political, social, or religious viewpoint binds

all persons [of the particular group].”23




18
   Taylor, 419 U.S. at 538; Lockhart v. McCree, 476 U.S. 162, 173 (1986) (“We have never invoked the fair cross-
section principle … to require petit juries, as opposed to jury panels or venires, to reflect the composition of the
community at large.”).
19
   Taylor, 419 U.S. at 538.
20
   See e.g., Hernandez v. Texas, 347 U.S. 475 (1954); Castaneda v. Partida, 430 U.S. 493, 495 (1977); Aldrich v.
State, 928 S.W.2d 558, 560 (Tex.Cr.App. 1996) (“We accept that Hispanics are a distinctive group in any
community …”).
21
   Lockhart, 476 U.S. at 174.
22
   Lockhart, 476 U.S. at 174-75, quoting Taylor, 419 U.S. at 530-31.
23
   Weaver v. State, 823 S.W.2d 371, 373 (Tex. App.—Dallas 1992, pet. ref’d), citing U.S. ex rel. Silagy v. Peters,
713 F.Supp. 1246, 1251 (C.D. Ill. 1989); United States v. Blair, 493 F.Supp. 398, 406 (D.Md. 1980), aff’d, 665 F.2d
500 (4th Cir. 1981).

                                                        22
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        C.       The Under-Representation of Hispanics on Harris County Venires is
                 Both Unfair and Unreasonable.

        The second element of the Duren test requires that Petitioner show “that the

representation of [Hispanics] in venires from which juries are selected is not fair and

reasonable in relation to the number of such persons in the community.”24 To meet this

requirement, a defendant should present evidence to show an absolute disparity25 of more

than 10%.26 The representation of the distinct group is measured against the community

of eligible jurors, rather than the whole community.27 An absolute disparity is calculated

by subtracting the percentage of the jury venire that is composed of members of the

distinct group from the percentage of the community of eligible jurors made up of

members of the distinct group.28 The Supreme Court has not determined precisely the

point at which the representation of a distinctive group is so low as to be unfair and

unreasonable.29 However, a showing of an absolute disparity greater than 10% should be

sufficient to satisfy the second element of the Duren test.30




24
   Duren, 439 U.S. at 364.
25
   Maskeny, 609 F.2d at 190.
26
   United States v. Haley, 521 F. Supp. 290, 292 (N.D.Ga. 1981) ("[C]ourts have clearly arrived at the conclusion
that more than 10% absolute disparity is necessary to implicate a violation of the fair cross-section rule."), citing
Swain v. Alabama, 380 U.S. 202, 208-9 (1965); United States v. Butler, 611 F.2d 1066, 1070 (5th Cir. 1980); United
States v. Maskeny, 609 F.2d 183 (1980); Thompson v. Sheppard, 490 F.2d 830 (5th Cir. 1974); see also Ted M.
Eades, Revisiting the Jury System in Texas: A Study of the Jury Pool in Dallas County, 54 SMU Law Rev. 1813,
1823 (2001) (most courts use the 10% floor from Swain v. Alabama, 380 U.S. 202, 208-098 (1965)).
27
   United States v. Williams, 264 F.3d 561, 568 (5th Cir. 2001); United States v. Brummitt, 665 F.2d 521, 529 (5th
Cir. 1981) (“the disparity … must be based not on total population but, instead, on those of the identifiable class
who are eligible to serve as jurors.”); Pondexter v. State, 942 S.W.2d 577, 580-81 (Tex. Crim. App. 1996), cert
denied, 522 U.S. 825 (1997).
28
   Maskeny, 609 F.3d at 190.
29
   The Supreme Court has never articulated precise standards for determining what constitutes a significant
underrepresentation, United States v. Haley, 521 F. Supp. 290, 292 (N.D.Ga. 1981), citing, Alexander v. Louisiana,
405 U.S. 625, 630 (1972)
30
   Maskeny, 609 F.2d at 190.

                                                        23
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         Here, the absolute disparity is at least 17%. Based on the analysis of Professor

Harold Hietala, Ph.D., an expert retained by Petitioner in this case, the absolute disparity

in Harris County – making all assumptions in favor of the State – is approximately

17.3%.31 As explained in his Affidavit, Hispanics make up approximately 29.64% of

persons eligible for jury service.32 Because this number is drawn from year-2000 figures,

Hietala suggests that this number could be somewhat higher due to dramatic Hispanic-

growth in Houston over the last four years.33 In comparison, based on Hietala’s analysis

of Petitioner’s 300-person panel, only 37 panel members could possibly have been

considered Hispanic (12.3%).34 Also, Petitioner’s petit jury contained no Hispanics.

Thus, based on the evidence, Professor Hietala concluded that Hispanics were under-

represented on Petitioner’s venire panel, that the absolute disparity was in excess of 17%,

and that the possibility that mere random chance created disparity was less than 1 in

10,000,000.35

         D.       The Under-Representation of Hispanics on Venires in Harris County is
                  Systematic.

         The third element of the Duren test requires that the disparity be the result of

systematic exclusion.36 In Harris County, all of the evidence, the analysis contained in

related studies and other jurisdictions, and any reasonable interpretation of the facts all

point to the same explanation for the systematic exclusion of Hispanics: $6/day is so low


31
   See The Affidavit of Professor Harold Hietala, Ph.D., attached hereto as Exhibit ___; Professor Hietala’s
Curriculam Vitae is attached hereto as Exhibit ___.
32
   Id. at 6.
33
   Id.
34
   Id. at 7-8.
35
   Id. at 7-10.
36
   Duren, 439 U.S. at 364.

                                                         24
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– the lowest in the nation – that the working poor cannot afford to attend jury duty. This

falls disproportionately on Hispanics who make up a large part of the working poor in

this county.      Because this and other procedures inherent to Harris County’s venire

selection are employed daily against every Defendant in Harris County courts, the

disparity is systematic under Duren’s requirements.

                 1.       Juror Pay Excludes Hispanics Disproportionately

        In Texas, employers do not have to pay their employees for time spent serving as a

juror.37 Thus, jury duty often means losing a daily wage for day laborers and hourly

workers summoned for jury duty. In Dallas, where $6/day is also the prevailing rate,

studies have shown that the poor, especially day laborers, and Hispanics fail to show up

for jury duty.38 $6 barely pays for parking at the court building and will not satisfy both

lunch at the courthouse plus parking. Thus, the poorest citizens – to whom jury duty is a

secondary concern to providing food and shelter for their families – are forced to choose

between a day’s wage, perhaps $45, or attending the courthouse at a loss. The evidence

suggests that these people are disproportionately Hispanic and that financial hardship is

the primary factor in their non-participation.39 Experience in other jurisdictions also

suggests that raising the daily pay from $6 to $40 would greatly increase participation by

low wage earners and Hispanics.40


37
   See also TEX. CIV. PRAC.& REM. CODE. § 122.001 (2004).
38
   Ted Eades, Revisiting the Jury System in Texas: A Study of the Jury Pool in Dallas County, 54 SMU L. Rev. 1813
(2001); Number of minority, lower-income jurors doesn’t mirror community, Dallas Morning News, October 22,
2000.
39
   Id.
40
   See Mark Curriden, Extra money helps El Paso lure more prospective jurors, Dallas Morning News, October 24,
2000; Mark Curriden, No Excuses: New Yorkers who try to avoid jury duty find that system has gotten serious about
service, Dallas Morning News, October 24, 2000.

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        The problem is compounded because Harris County systematically fails to enforce

juror summonses – this allows many poor Hispanics to simply opt out of the system. As

explained in Taylor v. Louisiana, and in Duren, such an arrangement is unconstitutional

and unacceptable. As the Supreme Court reasoned in those cases, procedures allowing

most women to opt out of jury service violated defendants’ rights to a jury from a fair

cross-section of the community.

                 2.       Update of Addresses

        Hispanics are also disproportionately affected by the County’s failure to update its

address lists. Harris County gets its addresses from voter registration lists and driver

license and ID cards. However, because addresses are often not updated until a person

renews their driver’s license, many of the addresses become bad addresses when a person

changes residences. Studies reflect that huge numbers of jury summonses are returned

because of bad addresses.41 The evidence also show that this disproportionately affects

Hispanics because Hispanics move more frequently than other groups.42 New York –

whose Driver’s Licenses are updated every eight years (Texas licenses usually expire in

six) – resolved this very problem by subscribing to a national change of address service. 43

        In sum, all of the essential elements of Duren are met. Hispanics are distinctive.

They are being dramatically under-represented on the venire panels. And the cause of the

under-representation is systematic. Therefore, Petitioner has made a prima facie case that



41
   Number of minority, lower-income jurors doesn’t mirror community, Dallas Morning News, October 22, 2000.
42
   Id.
43
   Mark Curriden, No Excuses: New Yorkers who try to avoid jury duty find that system has gotten serious about
service, Dallas Morning News, October 24, 2000.

                                                       26
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his Sixth amendment right to a jury drawn from a fair-cross section of the community has

been violated.

                                       CLAIM #4

    The State violated Mr. Prible’s rights guaranteed by the Sixth Amendment,
                 Massiah v. United States, 377 U.S. 201, 206 (1964).

      Once a defendant's Sixth Amendment right to counsel has attached, the

government is forbidden from “deliberately eliciting” incriminating statements from the

defendant. Massiah, 377 U.S., at 206. This prohibition has been extended to the use of

jailhouse informants who relay incriminating statements from a prisoner to the

government. In United States v. Henry, 447 U.S. 264 (1980), the government used a paid

informant, who was serving time for forgery, to obtain information about Henry. The

government admonished him to “be alert to any statements made by federal prisoners

[including Henry, with whom the informant was housed in the same cellblock], but not to

initiate any conversation with or question Henry regarding the bank robbery [for which

he had been previously indicted].” Id. at 266, 100 S.Ct. 2183.          As a result of

conversations the informant had with Henry, the government obtained incriminating

evidence, which was used at trial to convict him.

      The central question in Henry was “whether under the facts of this case a

Government agent ‘deliberately elicited’ incriminating statements from Henry within the

meaning of Massiah.” Id. at 270, 100 S.Ct. 2183. In concluding that a government agent

had elicited such statements, the Court relied on three factors. First, Henry was in

custody and under indictment at the time the informant conversed with him. Second, the


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informant “was ostensibly no more than a fellow inmate of Henry,” which caused Henry

to trust him and thus be more likely to make incriminating statements. Id. Finally, the

informant was acting under instructions from the government and was paid for his

services. The Court found it irrelevant that government officials had cautioned the

informant not to ask Henry any questions: “Even if the agent's statement that he did not

intend that Nichols would take affirmative steps to secure incriminating information is

accepted, he must have known that such propinquity likely would lead to that result.” Id.

at 271. In these circumstances, the Supreme Court held that the government agent's

conversation with Henry amounted to “deliberate elicitation” under Massiah.

       In Maine v. Moulton, 474 U.S. 159, 176 (1985), the Supreme Court clarified that

the Sixth Amendment and due process protections enunciated in Henry apply “to the

accused, at least after the initiation of formal charges. At that point, the accused enjoys,

          the right to rely on counsel as a “medium” between him and the State.
          …. [T]his guarantee includes the State's affirmative obligation not to
          act in a manner that circumvents the protections accorded the accused
          by invoking this right. The determination whether particular action by
          state agents violates the accused's right to the assistance of counsel
          must be made in light of this obligation. Thus, the Sixth Amendment
          is not violated whenever-by luck or happenstance-the State obtains
          incriminating statements from the accused after the right to counsel
          has attached. However, knowing exploitation by the State of an
          opportunity to confront the accused without counsel being present
          is as much a breach of the State's obligation not to circumvent the
          right to the assistance of counsel as is the intentional creation of
          such an opportunity. Accordingly, the Sixth Amendment is violated
          when the State obtains incriminating statements by knowingly
          circumventing the accused's right to have counsel present in a
          confrontation between the accused and a state agent.

Id. (internal citations omitted) (emphasis added).


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      1.     Mr. Prible was in custody and charge with capital murder; and

      2.     Beckcom was ostensibly no more than a fellow inmate.

       Beckcom contacted Mr. Prible while he was in the federal Bureau of Prisons. The

first encounter took place after Mr. Prible returned to the Beaumont medium security unit

from the low security unit where he was being housed in anticipation of his release to a

halfway house. This transfer was due to the fact that Mr. Prible had just been charged

with the capital murders of Steve and Nilda. Mr. Prible was, at all relevant times,

represented by counsel appointed by the trial court to defend him against capital murder

charges.

      Beckcom was already on the medium security unit to which the Government

returned Mr. Prible. He was serving time on federal charges for conspiracy to commit

murder. Beckcom was, and presented himself as, a fellow inmate.

      3.     In return for a assistance in obtaining a reduction in time to be served,
             Beckcom, acting, as a state agent, circumvented Mr. Prible’s right to
             counsel.

      Beckcom’s testimony shows that he began developing evidence to incriminate Mr.

Prible after he contacted lead prosecutor Kelly Siegler. According to Beckcom, he got

Siegler’s name from his cellmate Nathan Foreman sometime at the end of September,

early October of 2001. RR at 22. Beckcom testified that all he knew in October of 2001

was “something about a guy coming from the Low [security] charged with murder” but

he “really did not get too much information on it.” Id. Beckcom said he did not call

immediately; however, it was very soon after learning that some guy from low was

returning to medium, in “the first half of October of 2001,” that he called Siegler.

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Beckcom said that during that phone call he claimed that he had information on a murder,

but he said that he did not go into great detail with her. Indeed, Beckcom’s testimony, at

times, indicates, that he had no information at the time of this initial phone conversation.

According to Beckcom, he and Mr. Prible exercised together after he learned in

September or October that someone charge with murder was returning to the medium

security unit. Id. at 31. It was not for “weeks or maybe a month later” that Mr. Prible

approached him for the first time to talk to talk about anything. Id.

       At other points in Beckcom’s testimony, he indicates that he had several

conversations with Mr. Prible, over the course of a month, prior to calling Siegler in

October of 2001. However, the topic of these early conversations appears to have been

about “the asphalt and the paving business” and about “going into business together”.

Id., at 35. On the other hand, Beckcom could not put a time frame on when Mr. Prible

discussed aspects of his case. Referring to what he supposedly learned from Mr. Prible,

Beckcom stated “you know, …, this didn’t happen chronologically. So, in bits and pieces

of conversations on the same subject it came out,” including information that Steve “was

apparently his best friend, but yet he was having an affair with Steve’s wife.” Id. at 34.

However, Beckcom said that Mr. Prible did not start taking “real heavy … about the

actual crime and the murders, …, because he was not trusting anybody” at first. Id., at

35.

       In either event, Beckom’s testimony leaves little doubt that (1) the initial phone

call to Siegler in early October 2001 was for the purpose of reaching an agreement for

Beckcom serve as an agent to investigate Mr. Prible, and that (2) Beckcom knew very

                                             30
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little about the case until after he and Siegler worked out a deal44 that would reward

Beckcom for informing on Mr. Prible. Addressing their first contact, Siegler inquired as

follows:

        Q.       And eventually you made up your mind you were going to do what, sir?

        A.       Contact you and see if we could make some kind of deal.

        Q.       Because you were hoping for what, again?

        A.       Sentence reduction.

        Q.       And the only way for me to be interested was for me to know what?

        A.       Specifics about the case.

        Q.       So, in that regard you did what?

        A.       I sought to find out as much as I could.

        Q.       From who?

        A.       From Prible.

RR, vol 26, at 37.

        After the initial meeting, Beckcom went to work, for the State, on Mr. Prible. On

November 24, 2001, Beckcom said Mr. Prible “really poured it all out”.45 Id., at 53.

According to Beckcom, Mr. Prible confessed to killing Steve and Nilda, confessed to

setting the house on fire to cover his tracks, described himself as a “bad motherfucker”

44
  Beckcom testified that he got Siegler’s name from Nathan Foreman who had “supplied other informants to Ms.
Siegler” in other cases. Id. at 82.
45
   Beckcom maintained that Prible had come to look on Foreman and Beckcom as brothers. Id. at 54. According to
Beckcom, Prible said “I trust you guys, …, you’re the only ones that could convict me.” Id. at 54-55. At the same
time Beckcom said that Prible had “made his peace,” and was “prepared to die” if his “brothers” proved not to be so
trustworthy and turned state’s witness. Id. at 55. Furthermore, despite Mr. Prible’s supposed feelings of peace and
kinship, he apparently did not confide in Beckcom or Forman or communicate with them ever again.

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that would take out a whole family, described himself a ghost who could move in and out

of the crime scene unseen in a high intensity, low drag maneuver, described the crime

scene and the position of the bodies, and explained the motives for the killing, which

allegedly were (a) that Steve had bilked him out of $250,000.00, and (b) that Mr. Prible

felt he had to kill Steve before Steve took his money and killed him first.46 Id., at 45-55.

Foreman and Beckcom then contrived a photo op to prove that Beckcom knew Prible and

had met with him on November 24, 2001. Id. at 83.

       Beckcom clearly did not obtain information by happenstance. Instead, he was

referred to Siegler by another state agent, Nathan Forman, who supplied Siegler with

informants.   The State and Beckcom thereafter conspired to violate Mr. Prible’s

constitutional rights by eliciting statements about the crime in the absence of defense

counsel.

                                       CLAIM # 5

   THE STATE INTENTIONALLY SPONSORED FALSE AND MISLEADING
   TESTIMONY IN VIOLATION OF MR. PRIBLES DUE PROCESS RIGHTS

       A.     STANDARDS

       In Napue v. Illinois, 360 U.S. 264, 269 (1959) , the Supreme Court held that,

where a witness provides false testimony, known to be so by the prosecution and the

State does nothing to correct it, the defendant is denied due process. The well-settled rule

is that, to succeed in a due process violation claim, petitioner must show: “(1) [the

witness] gave false testimony; (2) the falsity was material in that it would have affected




                                            32
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the jury's verdict; and (3) the prosecution used the testimony knowing it was false.” May

v. Collins, 955 F.2d 299, 315 (5th Cir.1992). A Fourteenth Amendment violation obtains

if the State, “although not soliciting false evidence, allows it to go uncorrected when it

appears.” United States v. O'Keefe, 128 F.3d 885, 893 (5th Cir.1997) (quoting, Napue,

360 U.S. at 269). A prosecutor’s ratification of misleading testimony may also provide

the basis of a Napue claim. See, United States v. Mangual-Garcia, 505 F.3d 1, 10 (1st

Cir.2007), cert. denied, 128 S.Ct. 2081 (2008); Bragan v. Morgan, 791 F.Supp. 704, 711,

712-15 (M.D. Tenn. 1992) (noting that prosecutor's ratification of false testimony

prosecutor knowingly presented “is a clear violation of Giglio ”)

           A Napue violation requires that the conviction be set aside whenever there is “any

reasonable likelihood that the false testimony could have affected the judgment of the

jury.” Barrientes v. Johnson, 221 F.3d 741, 756 (5th Cir.2000) cert. dism'd by 531 U.S.

1134 (2001). Some courts have gone so far as to say that “ ‘if it is established that the

government knowingly permitted the introduction of false testimony reversal is virtually

automatic.’ ” Hayes v. Brown, 399 F.3d 972, 978 (9th Cir.2005) (en banc) (quoting

United States v. Wallach, 935 F.2d 445, 456 (2d Cir.1991)).

           B.       ARGUMENT

                    A.      The State knowingly sponsored false or misleading testimony
                            and jury arguments.

           In closing argument at guilt innocence, the State insisted that its informant had

learned information from Mr. Prible that only the person who had committed the crime

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     This all supposedly occurred on the same day that Mr. Prible and his mother and Beckcom and his mother got


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could know. This was patently false. The State was aware before Beckcom came on the

scene of virtually every single fact to which Beckcom testified. Beckcom’s testimony

about what Mr. Prible supposedly told him added absolutely nothing to the crime scene

reports, autopsy evidence and witness statements that Mr. Prible provided nearly two

years before encountering Beckcom in the federal penitentiary system. Mr. Prible’s

attorneys were privy to all of this information as well, and so was Mr. Prible, who gave

the statements, was aware of what had been reported in the newspapers, and of course

had discussed his case with his attorneys. This commonly known information included

information about where the bodies about where the bodies of Nilda and Steve were

found, where the children were found, the cause of the children’s death, Mr. Prible’s

relationship to Nilda and Steve, and the motive for, the cause of, and the nature of and

damage wrought by the fire. Nonetheless, the State, in order to bolster Beckcom’s

credibility, argued to the jury that each piece of evidence was something that only Mr.

Prible could have known.

         The statements that Beckcom said Mr. Prible made, which are not corroborated by

anything in the record, are simply blanket admissions of culpability that are sometimes

guilded by peculiar rhetoric. The alleged statements are not specific details about the

crime scene or the victims that were divulged first by Mr. Prible and later confirmed by

the State’s investigation. In this category falls Beckcom’s testimony that Mr. Prible said

he shot the victims, set Nilda on fire, that he was a bad mother fucker who could take out

a whole family, and that he had killed Steve over a dispute about money. Indeed, the


together for a photograph during visitation at the prison. Id.
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details that Beckcom tried to supply turned out to be false. Beckcom claimed that Mr.

Prible said he was robbing banks so that he and Steve could by a bar and that he killed

Steve because Steve bilked him out of $250,000.00. However, Mr. Prible’s entire take

for the string or robberies he pulled was in the neighborhood of $50,000.00.

      B.       The false and misleading statements were material.

      The State’s case depended critically on salvaging Beckcom’s credibility.

Beckcom admitted he had lied under oath before and that a federal judge had found that

he was a liar. Beckcom was plainly testifying in the hopes of a reward in the form of a

reduced sentence. The only way to give Beckcom a sheen of credibility was to impress

upon the jury that Beckcom had uncovered information from Mr. Prible that was

unknown to anyone beforehand. Clearly, bolstering Beckcom’s testimony through false

and misleading closing argument had a substantial impact on the jury’s decision to

convict.

                                      CLAIM # 6

       MR. PRIBLE WAS DENIED HIS SIXTH AMENDMENT RIGHT TO
                 EFFECTIVE ASSISTANCE OF COUNSEL

      A.       STANDARDS

      Strickland v. Washington, 466 U.S. 668 (1984), set forth the legal principles that

govern ineffective assistance of counsel claims. There are two components: a petitioner

must show that counsel's performance was deficient, and that the deficiency prejudiced

the defense.    Id., at 687.   To establish deficient performance, a petitioner must

demonstrate that counsel's representation "fell below an objective standard of


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reasonableness." Id., at 688. The Supreme Court has “declined to articulate specific

guidelines for appropriate attorney conduct.” Wiggins v. Smith, 539 U.S. 510, 521

(2003).   Instead, the Court has “emphasized that ‘[t]he proper measure of attorney

performance remains simply reasonableness under prevailing professional norms.’” Id.,

(quoting Strickland, 466 U.S., at 688).

       In order for counsel's inadequate performance to constitute a Sixth Amendment

violation, petitioner must show that counsel’s failures prejudiced his defense. Strickland,

466 U.S., at 692.    To establish prejudice, a “defendant must show that there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different. Id., at 694. That does not mean that a petitioner

must show that counsel's deficient conduct more likely than not altered the outcome of

the case.” Id. “The result of a proceeding,” the court added, “can be rendered unreliable,

and hence the proceeding itself unfair, even if the errors of counsel cannot be shown by a

preponderance of the evidence to have determined the outcome.” Id. Instead, reasonable

probability is simply “a probability sufficient to undermine confidence in the outcome.”

Id., at 694. In assessing prejudice, the reviewing court reconsiders all the evidence.

Wiggins, 539 U.S. at 534. The totality of the evidence includes “both that adduced at

trial, and the evidence adduced in the habeas proceeding[s].” Williams, 529 U.S., at 397-

398 (emphasis added).




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      B.     ARGUMENT

             1.     Failure of trial counsel to object to Beckcom’s testimony under
                    Massiah and progeny was ineffective.

                    a.     Counsel’s failure to invoke Massiah and progeny fell
                           below reasonable professional standards.

      Beckcom was the State’s key witness. Reasonable counsel would realize that

Beckcom was being called to relate an alleged jailhouse confession. In fact, trial counsel

located two witnesses who testified at trial that Beckcom was a jailhouse informant.

Reasonable counsel would also realize that Beckcom had been approached by Siegler to

act as an agent of the State. Indeed, trial counsel cross-examined Beckcom about the fact

that Nathan Forman, Beckcom’s cellmate, had provided Beckcom with Siegler’s

telephone number. Counsel demonstrated that he was aware that Siegler worked with

Foreman in other cases to find prisoners willing to serve as informants for the State.

Reasonable competent counsel would also be aware of major Supreme Court cases that

prevented the Government from circumventing their clients Sixth Amendment rights by

using snitches to gain access to them for incriminating information. However, trial

counsel failed to raise a Sixth Amendment objection to Beckcom’s testimony based on

Massiah, Henry or Moulton, supra.

                    b.     The Failure to Assert Mr. Prible’s Sixth Amendment
                           Rights Prejudiced his Defense.




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          Beckcom’s testimony was material in the sense that is reasonably probable that

verdict would have been different if his testimony had been excluded. For years, the

State was aware of the other evidence in the case against Mr. Prible, such as his

statements the day after the murder, his relationship to Steve, and his presence at Steve’s

home on the night and early morning of the murders. The State had not considered this

evidence sufficient even to form the basis for bringing charges of any sort against Mr.

Prible.

          Clearly, without Beckcom the jury would have been compelled to acquit. The

State could not even place Mr. Prible at the scene of the crime at the time it was

committed, except through spurious evidence. All it had in this regard was Dr. Watson’s

testimony about sperm viability over time, which was undermined by the Harris County

Medical Examiner and Defense’s expert.

                2.     Trial counsel’s failure to object to false and misleading
                       testimony that bolstered Beckcom’s credibility was ineffective.

                       a.     The failure to object was deficient.

          Clearly, defense counsel would not allow the State to bolster a key witness whose

credibility was so critical to the State’s case. There is no reasonable strategic justification

for not moving to prevent the State from convincing the jury that the highly incriminating

testimony Beckcom provided was credible.

                       b.     Trial counsel’s failure to prevent false and misleading
                              testimony and arguments of counsel that bolstered
                              Beckcom prejudiced Mr. Prible.




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       For reasons explained in Claim 4, supra, the State’s ability to bolster Beckcom’s

credibility was material.

              3.     Appellate counsel was ineffective for not raising claims in section
                     2 and 3 supra. Evitts v. Lucey, 469 U.S. 387 (1985).


                                      CLAIM # 7

  THE STATE VIOLATED DUE PROCESS RIGHTS BY CONCEALING THE
 NATURE OF THE ARRANGEMENT BETWEEN BECKCOM, FORMAN AND
                   THE LEAD PROSECUTOR

       A.     Standards
       Prosecutors are obligated to disclose evidence favorable to the defense Brady v.

Maryland, 373 U.S. 83 (1963). Whether prosecutors were ever aware of the existence or

value of evidence to the defense is irrelevant. In United States v. Bagley, 473 U.S. 667,

682 (1985), the Supreme Court clarified that prosecutors are liable even if other

government agencies retained custody of Brady material. In Strickler v. Greene, 119

S.Ct. 1936 (1999), the Supreme Court distilled the essence of what Petitioners must show

in order to overcome procedural bars to litigating Brady claims. Id. at 1949. Petitioner

must first make some showing that a Brady violation actually occurred – that is, he must

make some showing that the State suppressed favorable, material evidence. See, id., at

1948. Second, Petitioner must show that the State’s conduct was what caused his or her

failure to discover the evidence. See id., at 1949-50. This inquiry into cause is itself

tripartite: (1) whether the prosecution withheld exculpatory evidence; (2) whether the

petitioner reasonably relied on the prosecution's open file policy as fulfilling the

prosecution's duty to disclose such evidence; and (3) whether the State confirmed the

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petitioner's reliance on that policy by asserting during the state habeas proceedings that

the petitioner had already received everything known to the government.




      B.     Facts

      Trial counsel filed pretrial motions seeking to discover deals between Beckcom

and the State. The State disclosed that in return for Beckcom’s testimony against Mr.

Prible, it would recommend a reduction of time to the Assistant United States Attorney

who had prosecuted Beckcom in federal court. Trial counsel learned as well that the lead

prosecutor had met with Beckcom on one occasion and talked with him twice by

telephone. Trial counsel also discovered that Nathan Forman had provided Beckcom

with the lead prosecutor’s phone number. Trial counsel was not informed of any other

arrangements involving Beckcom and Forman.

      C.     Argument

             1.      The State suppressed the numerous contacts between
                     the lead prosecutor and Forman that took place while
                     Beckcom was probing Mr. Prible for information about his case.

      At trial the State made a point about how infrequently the prosecution team

contacted Beckcom. This was important in order to dispel the notion that Beckcom was

getting facts about Mr. Prible’s case from the State and not from Mr. Prible. However,

the State did not disclose that prosecutors had contacted Nathan Forman, Beckcom’s

cellmate, on numerous occasions, or that it was using a circle of informants at the prison

to investigate and provide testimony against Mr. Prible.

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        According to C. Walker, who was housed with Beckcom and Forman at the time

Beckcom was investigating Mr. Prible, Forman had access to the lead prosecutor’s cell,

home and office numbers.47 Forman was the lead prosecutor’s point person at the

Beaumont unit; he was constantly on the phone with the lead prosecutor. Through these

phone conversations Forman, the State and Beckcom contrived a scheme to secure

jailhouse informant testimony against Mr. Prible.

        Walker was present during several conversations between Forman and the lead

prosecutor. In fact, Walker was part of what he described as a tight, neat circle of

informants headed by Forman who were recruited to provide information to the State.

Walker said Forman had recruited him to be a snitch, and that at first he intended to

testify against Mr. Prible.

        Walker stated that Foreman and his crew “were schooled” about the specifics of

the offense that the State was trying to prove against Mr. Prible by Forman who received

his information from the lead prosecutor.                   Walker specifically stated that the lead

prosecutor told Foreman that the problem with the Prible case was that the neighbor who

put Mr. Prible at his home a few hours before the murders took place. According to

Walker, the lead prosecutor told Forman that Steve had dropped Mr. Prible off at his

house hours before the murder, and that one of the neighbors had substantiated this.

        Walker describes how Forman, Beckcom and their circle worked to get Mr.

Prible’s trust. The process included supplying Mr. Prible with wine and “weed”. Forman


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 In February of 2009, after the Bureau of Prison refused to allow anyone but an attorney to conduct a meet with
Walker, Court appointed investigator JJ Gradoni managed to arrange a telephonic interview which was recorded.

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and his group would take photos with Mr. Prible to show him that they were all buddies

and made promises to Prible to hook him up with a female while he was in prison.

According to Walker, on many occasions they would get Mr. Prible high on weed. On

each occasion, they would try to swing the conversation to Mr. Prible’s involvement in

the multiple murders.

       Walker stated that Mr. Prible would never admit that he was involved in the

murders. At one point Walker remembered asking Foreman, if we’re all so stoned, how

are we going to remember when [Mr. Prible] supposedly tells us he did it?” Forman’s

comment, according to Walker, was that Mr. Prible will be the only one stoned.

According to Walker, Forman’s and Beckcom’s objective in plying Mr. Prible for

information was to get a reduction in time.

              2.     The State suppressed evidence that Beckcom and Forman were
                     part of a systematic attempt to secure convictions using jailhouse
                     investigators and snitch testimony.

       Several other witnesses corroborate evidence from the Walker interview that

indicates that prosecutors were systematically utilizing jailhouse informants to investigate

defendants who were charged and represented by counsel. On or about June 11, 2009,

Mr. Prible’s investigator interviewed William Irvan who is on death row at the Polunsky

Unit. Irvan was arrested and incarcerated in the Harris County Jail around the time of

pretrial and trial proceedings in Mr. Prible’s case. According to Irvan, his attorney

approached him with a proposal from Mr. Prible’s lead prosecutor, who was also

prosecuting Irvan. The proposal was for Irvan to inform on Mr. Prible.



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        Other death row inmates have been subject to similar schemes. On or about June

11, 2009, Mr. Prible’s investigator interviewed Taurus Sales on death row at the

Polunsky Unit.          Sales had been convicted of capital murder based largely on the

testimony of a jailhouse informant named Hardnett. The lead prosecutor in his case was

the same person who prosecuted Mr. Prible. According to Sales, Hardnett was routinely

placed in the hold over tank (the pen that is part of each courtroom where incarcerated

defendants and witnesses await court proceedings). Sales said that Hardnett was placed

in the tank during voir dire of witness in his case when Hardnett had no reason of his own

for appearing in court. Sales suspected that Hardness was present in order to provide

testimony that he was scared of Sales. Sales said he asked Hardnett each time he saw

him to sign a piece of paper saying that Sales had not threatened him. Sales said that

Hardnett testified that Sales had confessed to him in the law library of the County Jail. 48

                 3.       The suppressed evidence was favorable and material.

        Establishing the credibility of Beckcom’s testimony was critical. Because of

Beckcom’s criminal history, including, murder for hire, and his reputation as a liar, the

State had to assure the jury, based on the nature of Beckcom’s testimony, that Beckcom

was telling the truth in the case against Prible. The State’s ability to do so would have

been completely undermined, and with it the State’s case against Mr. Prible, if the State

had divulged that it had used Nathan Forman as a conduit for supplying Beckcom with

facts about the case.

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  The State appears to have used the law library as a location where informants could talk to Defendants about their
case. On or about June 4, 2009, Mr. Prible’s investigator interviewed Danny Bible on death row at the Polunsky


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        As Walker’s statement to Mr. Prible’s investigator makes clear, the very facts that

the State argued were details that only Mr. Prible could have told Beckcom were

conveyed by the State to Forman who then briefed Beckcom and others who were

recruited to provide incriminating evidence against Mr. Prible. Clearly, this type of

information would have allowed a reasonably competent defense attorney to place the

State’s case in an entirely different light. Indeed, reasonable defense counsel would have

completely undermined the integrity of the State’s case if he had information that would

have allowed him to demonstrate that the State involved in a conspiracy to violate Mr.

Prible’s right to counsel and was trying to incriminate Mr. Prible with the testimony from

members of this conspiracy.

                                                  CLAIM # 8

          MR. PRIBLE IS ACTUALLY INNOCENT OF CAPITAL MURDER

        A.       STANDARDS

        Close review of the decision in Herrera v. Collins, 506 U.S. 39 (1993),

demonstrates that a majority of the Court found that the execution of an innocent man

violates the constitution. Id. at 419 (O’Connor, J., joined by Kennedy, J., concurring)

(“executing the innocent is inconsistent with the Constitution”); Id. (O’Connor, J., joined

by Kennedy, J., concurring) (“the execution of a legally and factually innocent person

would be a constitutionally intolerable event.”); Id. at 429 (White, J., concurring) (“I

assume that a persuasive showing of ‘actual innocence’ made after trial, even though



Unit. Bible said that he saw Beckcom in the Harris County law library virtually every time he went to research his
case. Bible said that Beckcom offered to help him but Bible was warned by others to stay clear of Beckcom.

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made after the expiration of the time provided by law for the presentation of newly

discovered evidence, would render unconstitutional the execution of petitioner in this

case.”); Id. at 430 (Blackmun, J., joined by JJ. Stevens and Souter, dissenting) (“Nothing

could be more contrary to contemporary standards of decency … than to execute a person

who is actually innocent.”). Even Chief Justice Rehnquist left open whether in a capital

case a truly persuasive demonstration of “actual innocence” made after trial would render

the execution of a defendant unconstitutional, and warrant federal habeas relief if there

were no state avenue open to process such a claim,” 506 U.S. at 417, although “the

threshold showing for such an assumed right would necessarily be extraordinarily high”.

Id.

         The Fifth Circuit does not recognize freestanding claims of actual innocence on

federal habeas review. See Graves v. Cockrell, 351 F.3d 143, 151 (5th Cir.2003).

However, in a recent case, Judge Wiener stated that actual innocence is the “elephant in

the room”. In re Swearingen, 556 F.3d 344 (5th Cir. 2009) (concurring opinion). Judge

Wiener stressed that the Supreme Court has indicated that those who prove their actual

innocence will be added to the list of defendants upon whom the State is forbidden to

impose capital punishment.

           Consistently repeating the mantra that, to date, the Supreme Court of
           the United States has never expressly recognized actual innocence as
           a basis for habeas corpus relief in a death penalty case, this court has
           uniformly rejected standalone claims of actual innocence as a
           constitutional ground for prohibiting imposition of the death penalty.
           The Supreme Court has, however, made statements in dicta which at
           least strongly signal that, under the right circumstances, it might add
           those capital defendants who are actually innocent to the list of


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              persons who-like the insane, the mentally retarded, and the very
              young-are constitutionally ineligible for the death penalty.

Id. at 349. In conclusion, Judge Wiener admonished that “this question is a brooding

omnipresence in capital habeas jurisprudence that has been left unanswered for too long.”

Id.



         A.      Mr. Prible was wrongfully convicted on the basis of false, contrived
                 jailhouse snitch testimony.

         The evidence and argument in Claim #7 is incorporated by reference as if fully set

forth herein.

         This is a case of wrongful conviction based on the testimony of a notorious

jailhouse informant. At trial, Beckcom informed the jury that Mr. Prible had confessed to

the murders of Steve and Nilda and confesses to killing the couple’s three children. That

testimony fabricated by a conspiracy, involving the State, to convict people through

jailhouse informant testimony. Without Beckcom’s false testimony, no reasonable juror

would have convicted Mr. Prible.

         The evidence that Beckcom fabricated the confession is strikingly powerful in

light of the State’s weak case and the substantial defense, including significant alibi

testimony, that Mr. Prible presented at trial. (Evidence and argument in Claim # 1,

section 4, is hereby incorporated by reference as if fully set forth herein). Furthermore,

in the case of Mr. Prible, the State did not have a motive, a weapon or a witness to the

crime. On the other hand, Steve was engaged in the inherently dangerous business of

buying and selling narcotics, namely, cocaine.

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         JUSTIFICATION FOR PRESENTING FEDERAL CLAIMS THAT
                 THE TEXAS COURTS DID NOT CONSIDER.


I.      ANY FAILURE TO EXHAUST CLAIMS BROUGHT PURSUANT TO
        BRADY, GIGLIO, OR NAPUE SHOULD BE EXCUSED.

        A rule declaring “prosecutor may hide, defendant must seek,” is not tenable in a

system constitutionally bound to accord defendants due process.           “Ordinarily, we

presume that public officials have properly discharged their official duties.” Bracy v.

Gramley, 520 U.S. 899, 909 (1997) (quoting United States v. Chemical Foundation, Inc.,

272 U.S. 1, 14-15 (1926) (internal quotation marks omitted)). The Supreme Court has

several times underscored the “special role played by the American prosecutor in the

search for truth in criminal trials.” Banks v. Dretke, 540 U.S. 668, 696 (2004); Strickler,

527 U.S., at 281; accord Kyles, 514 U.S., at 439-440; United States v. Bagley, 473 U.S.

667, 675, n. 6, (1985); Berger, 295 U.S., at 88. Courts, litigants, and juries properly

anticipate that “obligations [to refrain from improper methods to secure a conviction] ...

plainly rest[ing] upon the prosecuting attorney, will be faithfully observed.” Berger, 295

U.S., at 88. Prosecutors' dishonest conduct or unwarranted concealment should attract no



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judicial approbation. See Kyles, 514 U.S., at 440 (“The prudence of the careful prosecutor

should not ... be discouraged.”).

         A.    The State has never disclosed the bases of Mr. Prible’s Brady claims

         The evidence and argument in Claim # 7 establishing that the State suppressed

evidence are incorporated by reference as if fully set forth herein.



         B.    The concealed evidence was prejudicial.

         The evidence and argument in Claim # 7 establishing that the suppressed evidence

was favorable and material are incorporated by reference as if fully set forth herein.

II.      THE STATE COURTS PREVENTED MR. PRIBLE FROM LITIGATING
         HIS PROSECUTORIAL MISCONDUCT AND INEFFECTIVENESS OF
         COUNSEL CLAIMS.

         Interference by State officials that prevents petitioners from developing and

presenting claims justifies the federal courts in reaching the merits of those claims. See,

Murray v. Carrier, 477 U.S. 478, 487 (1986). Mr. Prible vigorously attempted to litigate

viable claims under Massiah, Brady and Strickland. He repeatedly asked the attorney

appointed by the State courts to pursue these claims, and notified these tribunals that his

state habeas counsel was not pursuing those claims. Importantly, Mr. Prible took steps to

notify the convicting court of his claims and of the conflict with his attorney before his

state writ attorney filed the application for writ of habeas corpus that the TCCA

considered to be Mr. Prible’s initial writ.

         Mr. Prible’s communications with counsel and the Court clearly demonstrated a

complete breakdown in the attorney-client relationship. However, his counsel failed to

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file a motion to withdraw and the trial court failed to convene a hearing in order to

determine if trial new counsel should be appointed, or, if that was not feasible, whether

Mr. Prible should be allowed to proceed pro se. Furthermore, neither appointed counsel

nor the convicting court informed Mr. Prible that he was entitled to discharge his

appointed attorney. Neither counsel nor the convicting court informed Mr. Prible that the

Courts would not consider his pro se pleadings so long as appointed counsel.

       Mr. Prible diligently sought to develop evidence from the severely limited vantage

of administrative segregation on death row. He utilized the pro bono assistance of lay

persons because he could not retain an investigator of his own. Based on the evidence

that he could develop from prison, Mr. Prible made vigorous attempts to protect his

constitutional rights through pro se petitions and letters to the trial court. When that

failed he moved to recuse the presiding judge and pointedly informed him at the recusal

hearing that his attorney had not visited him, had not investigated his case, and had filed

meritless claims despite being presented with substantial evidence and substantial legal

arguments for relief.

       In short, the State courts prevented Mr. Prible from proceeding pro se on his

meritorious claims. Thereafter, the Texas Court of Criminal Appeals dismissed Mr.

Prible’s pleadings on the ground that he was a pro se petitioner. Under this set of

circumstances, the federal courts should consider the claims in this petition that are

related to the claims that Mr. Prible attempted to raise in pro se pleadings he filed in the

State system.



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       The prejudice that Mr. Prible must demonstrate under Carrier, supra, at 491, is

evident from the discussions of prejudice and materiality in the substantive claims alleged

in this petition under Massiah, Brady, and Strickland. The evidence and argument in

these respective claims is hereby re-alleged as if fully set forth herein.




III.   THIS COURT SHOULD REACH MR. PRIBLE’S CLAIMS TO PREVENT
       A MANIFEST INJUSTICE.

       In Schlup v. Delo, 513 U.S. 298 (1995), the Supreme Court recognized that

otherwise procedurally defaulted claims may be cognizable upon showing that, in light of

new evidence, “it is more likely than not that no reasonable juror would have found

petitioner guilty beyond a reasonable doubt.” House v. Bell, 547 U.S. 518 (2006) (citing

513 U.S., at 327).         This formulation “ensures that petitioner's case is truly

‘extraordinary’, while still providing petitioner a meaningful avenue by which to avoid a

manifest injustice.” Id. (quoting McCleskey v. Zant, 499 U.S. 467, 494 (1991)). A

petition supported by a convincing Schlup gateway showing “raise[s] sufficient doubt

about [the petitioner's] guilt to undermine confidence in the result of the trial without the

assurance that that trial was untainted by constitutional error”; hence, “a review of the

merits of the constitutional claims” is justified. Id. (quoting, Schlup, 513 U.S., at 317).

       In determining whether a petitioner has passed through Schlup’s gateway, the

court may consider “new reliable evidence-whether it be exculpatory scientific evidence,

trustworthy eyewitness accounts, or critical physical evidence-that was not presented at


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trial”, id., at 324. However, the habeas court's analysis is not limited to such evidence.

Schlup makes plain that the habeas court must consider “ ‘all the evidence,’ ” old and

new, incriminating and exculpatory, without regard to whether it would necessarily be

admitted under “rules of admissibility that would govern at trial.” See id., at 327-328, 115

S.Ct. 851 (quoting Friendly, Is Innocence Irrelevant? Collateral Attack on Criminal

Judgments, 38 U. Chi. L.Rev. 142, 160 (1970)). Based on this total record, the court

must make “a probabilistic determination about what reasonable, properly instructed

jurors would do”. 513 U.S., at 329.

        While “the court's function is not to make an independent factual determination

about what likely occurred, but rather to assess the likely impact of the evidence on

reasonable jurors”, id., the gateway actual-innocence standard is not equivalent to the

standard of Jackson v. Virginia, 443 U.S. 307 (1979), which governs claims of

insufficient evidence. House, 547 U.S. at 519. When confronted with a challenge based

on trial evidence, courts presume the jury resolved evidentiary disputes reasonably so

long as sufficient evidence supports the verdict.       Because a Schlup claim involves

evidence the trial jury did not have before it, the inquiry requires the federal court to

assess how reasonable jurors would react to the overall, newly supplemented record. See

id. If new evidence so requires, this may include consideration of “the credibility of the

witnesses presented at trial”, Id.; see also ibid. (noting that “[i]n such a case, the habeas

court may have to make some credibility assessments”).

B.      ARGUMENT



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       The argument and evidence set forth (and incorporated by reference) in Claims #1,

#7 and #8 are incorporated by reference as if fully set forth herein. No reasonable juror

would have convicted Mr. Prible if he had been able to exclude Beckcom’s testimony

based on Massiah using evidence that the State had conspired to violate his Sixth

Amendment rights. Similarly, no reasonable juror would have convicted Mr. Prible if the

state had disclosed the informant conspiracy and the communications between the State

and its witnesses and agents.

                                 PRAYER FOR RELIEF

       WHEREFORE, Ronald Jeffrey Prible requests that this Court:

       1.     Issue a writ of habeas corpus to have him brought before it, to the end that

he may be discharged from his unconstitutional confinement and restraint and/or relieved

of his unconstitutional sentence of death.

       2.     Grant him an evidentiary hearing at which he may present evidence in

support of the foregoing claims, and allow him a reasonable period of time subsequent to

any hearing this Court determines to conduct, in which to conduct reasonable discovery

and brief the issues of fact and of law raised by this petition or such hearing.

       3.     Grant undersigned counsel a reasonable period of time, not less than sixty

days, to prepare and file such amendments to this petition as may be necessary to raise all

available constitutional challenges to Mr. Prible’s conviction and death sentence in this

proceeding

       4.     Grant him leave to file a reply to Respondent’s answer.

       5.     Grant such other relief as law and justice require.

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                                               Respectfully submitted,

                                               HILDER & ASSOCIATES, P.C.
                                        By:    /s/ James G. Rytting
                                               Philip H. Hilder
                                               State Bar No. 19620050
                                               James Rytting
                                               State Bar No. 24002883
                                               819 Lovett Boulevard
                                               Houston, Texas 77006-3905
                                               Telephone (713) 655-9111
                                               Facsimile (713) 655-9112
                                               ATTORNEYS FOR PETITIONER




                                   VERIFICATION
       I, James Rytting, state that to the best of my knowledge, the facts alleged in
support of the claims in this case are true and correct, under penalty of perjury, as
proscribed by Title 18 U.S.C. § 1746; and I hereby sign on behalf of Petitioner, Ronald
Jeffrey Prible.

                                        /s/___James Rytting_______________
                                               James Rytting




                           CERTIFICATE OF SERVICE

       On June 17, 2009, a copy of Mr. Prible’s petition for writ of habeas corpus was
served upon Respondent by ECF filing or U.S. Mail, return receipt requested, addressed
to the Texas Attorney General, Capital Litigation, P.O. Box 12548, Capitol Station,
Austin, Texas 78711.

                                        /s/___James Rytting_____________
                                               James Rytting

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